                        Case 1:17-cv-11937-DJC Document 1 Filed 10/10/17 Page 1 of 5


 Pro Se 1 (Rev. 09/16) Complaint for a Civil Case



                                          United States District Court
                                                                   for the

                                                         District of Massachusetts



                                                                             Case No,
                                                                                         (to befilled in by the Clerk's Office)


                                Plamtiff(s)
 (Write thefull nameof eachplaintiffwho isfiling this complaint.
 Ifthe namesof all theplaintiffs cannotfit in the space above,
                                                                             Jury Trial: (checkone) | |Yes CflNo
 please write "seeattached" in thespace and attach an additional
 page with thefull list ofnames.)
                                    -V-




^ickxn-n-tf ^                                          mi 91%
                               Defendant(s)
 (Write thefull name ofeachdefendant who is being sued. If the
 names ofall thedefendants cannotfit in thespaceabove, please
 write "seeattached" in thespace and attach an additionalpage
 with thefull list ofnames.)



                                                    COMPLAINT FOR A CIVIL CASE


 I.         The Parties to This Complaint
            A.         The FIaintiff(s)

                        Provide the information below for each plaintiff named inthe complaint. Attach additional pages if
                        needed.

                                   Name                             f\^HeNApL -
                                   Street Address
                                                                   153 oOohcL'e.Si'U- S-t AF-t 4^ S"
                                   City and County                  gO^-tOQ W)/l
                                   State and Zip Code                                09^11 <P
                                   Telephone Number                    G13--                  /fg
                                   E-mail Address                  ougAeocxPj' L'd-4(^
             B.         The Defendant(s)

                        Provide the information below for each defendant named in the complaint, whether the defendant isan
                        individual, agovernment agency, an organization, or a corporation. For an individual defendant,
                        include the person's jobortitle (ifknown). Attach additional pages ifneeded.



                                                                                                                                  Page 1 of 5
                       Case 1:17-cv-11937-DJC Document 1 Filed 10/10/17 Page 2 of 5


Pro Se 1 (Rev. 09/16) Complaint for a Civil Case


                     Defendant No. 1

                                Name

                                Job or Title (ifknown)       cl^CLnf\el >   N-CujS
                                 Street Address

                                City and County
                                 State and Zip Code
                                Telephone Number
                                 E-mail Address (ifknown)


                      Defendant No. 2

                                 Name

                                 Job or Title (ifknown)
                                 Street Address

                                 City and County
                                 State and Zip Code
                                 Telephone Number
                                 E-mail Address (ifknown)


                      Defendant No. 3

                                 Name

                                 Job or Title (ifknown)
                                 Street Address

                                 City and County
                                 State and Zip Code
                                 Telephone Number
                                 E-mail Address (ifknown)


                      Defendant No. 4

                                 Name

                                 Job or Title (if known)
                                  Street Address

                                  City and County
                                  State and Zip Code
                                  Telephone Number
                                  E-mail Address (ifknown)



                                                                                      Page 2 of 5
                       Case 1:17-cv-11937-DJC Document 1 Filed 10/10/17 Page 3 of 5


Pro Se I (Rev. 09/16) Complaint for a Civil Case


II.        Basis for Jurisdiction


           Federal courts are courts of limited jurisdiction (limited power). Generally, only twotypes of cases can be
           heard in federal court: casesinvolving a federal question andcasesinvolving diversity of citizenship of the
           parties. Under 28U.S.C. § 1331, a case arising under theUnited States Constitution or federal laws or treaties
           is a federal question case. Under 28 U.S.C. § 1332, a case in which a citizen of one State sues a citizen of
           another State or nation and the amount at stake is more than $75,000 is a diversity of citizenship case. In a
           diversity of citizenship case, no defendant may be a citizen of the same State as any plaintiff.

           What is t^ basis for federal court jurisdiction? (check all that apply)
                   ^ Federal question                                Q Diversity ofcitizenship
           Fill out the paragraphs in this sectionthat applyto this case.

           A.         If the Basis for Jurisdiction Is a Federal Question

                      List the specific federal statutes, federal treaties, and/or provisions ofthe United States Constitution that
                      are at issue in this case.




           B.         If the Basis for Jurisdiction Is Diversity of Citizenship

                       1.        The Plaintiff(s)

                                 a.         If the plaintiff is an individual
                                            The plaintiff, (name)                ^jr\(K p »         ^               ,is acitizen ofthe
                                            State of (name)              .   evc^on                          •


                                  b.         If the plaintiff is a corporation
                                             The plaintiff, (name)                                                   »is incorporated
                                             under the laws of the State of (name)
                                             andhas its principal place of business in the State of (name)


                                  (Ifmore than one plaintiffis named in the complaint, attach an additionalpage providing the
                                  same informationfor each additionalplaintiff.)

                                  The Defendant(s)

                                  a.         If the defendant is an individual
                                             The defendant, (name)                                                   »is acitizen of
                                             the State of (name)                                                 • Or is a citizen of
                                              (foreign nation)


                                                                                                                                 Page 3 of 5
                       Case 1:17-cv-11937-DJC Document 1 Filed 10/10/17 Page 4 of 5


Pro Se 1 (Rev. 09/16) Complaint for a Civil Case




                                           If the defendant is a corporation
                                           The defendant, (name)                                             , is incorporated under
                                           the laws of the State of (name)                                             , and has its
                                            principal place of business in the State Qi(name)
                                           Or is incorporated under the laws of (foreign nation)
                                           and has its principal place of business in (name)

                                 (Ifmore than one defendant isnamed inthe complaint, attach an additionalpageproviding the
                                same informationfor each additional defendant.)

                      3.         The Amount in Controversy

                                  The amount in controversy-the amount the plaintiff claims the defendant owes or the amount at
                                 stake-is more than $75,000, not counting interest and costs of court, because (explain):




III.       Statement of Claim

           Write a short and plain statement ofthe claim. Do not make legal arguments. State as briefly as possible the
           facts showing that each plaintiff is entitled to the damages orother relief sought. State how each defendant was
           involved and what each defendant didthatcaused the plaintiff harm or violated theplaintiffs rights, including
           the dates and places ofthat involvement or conduct. Ifmore than one claim isasserted, number each claim and
           write a short and plain statement ofeach claim in a separate paragraph. Attach additional pages ifneeded.
                                             ^                               /7 T                                 on a/f c/jcwDtls
         In B^S-ton                            ajir)0<A/ic}n>5                   ^                 i>t t^o-h-t d'OpeJ
        crl,cunn€ls                            '7 ^                                                                               •
          Cc\/n^c.& fohi<Lf>                                                                                                       oOf
 IV.       Relief


            State briefly and precisely what damages orother reliefthe plaintiff asks the court toorder. Do not make legal
            arguments. Include any basis for claiming that the wrongs alleged are continuing at the present time. Include
            the amounts ofany actual damages claimed for the acts alleged and the basis for these amounts. Include any
            punitive or exemplary damages claimed, the amounts, and the reasons you claim you are entitled to actual or
            punitive money damages.




                                                                                                                             Page 4 of 5
                       Case 1:17-cv-11937-DJC Document 1 Filed 10/10/17 Page 5 of 5


Pro Se 1 (Rev. 09/16) Complaint for a Civil Case




V.         Certification and Closing

           UnderFederal Rule of Civil Procedure 11, by signing below, I certify to the best of my knowledge, information,
           and beliefthat this complaint: (1) is not beingpresented for an improper purpose, such as to harass, cause
           unnecessary delay, or needlessly increase thecostof litigation; (2) is supported byexisting law or by a
           nonfrivolous zirgument for extending, modifying, or reversing existing law; (3) the factual contentions have
           evidentiary support or, if specifically so identified, will likely have evidentiary support after a reasonable
           opportunity for further investigation or discovery; and (4) thecomplaint otherwise complies with the
           requirements of Rule 11.

           A.         For Parties Without an Attorney

                      I agree toprovide the Clerk's Office with any changes tomy address where case-related papers may be
                      served. I understand that my failure to keep a current address on file with the Clerk's Office may result
                      in the dismissal of my case.

                      Date ofsigning:              jo-Id- 5t7/^

                      Signature of Plaintiff                .               -
                      Printed Name ofPlaintiff                           | 7^ —^                 6"
           B.         For Attorneys


                      Date of signing:


                      Signature of Attorney
                      Printed Name of Attorney
                      Bar Number

                      Name of Law Firm

                       Street Address

                       State £ind Zip Code
                      Telephone Number
                       E-mail Address




                                                                                                                            Page 5 of 5
